     Case 4:16-cv-00643 Document 131 Filed on 05/30/18 in TXSD Page 1 of 8




                          IN THE UNITED DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

RODNEY D. TOW, Chapter 7 Trustee,               :     Judge Vanessa D. Gilmore
                                                :
              Plaintiff,                        :     Case No. 4:16-cv-00643
                                                :
v.                                              :
                                                :
ORGANO GOLD INT’L, INC., et al.                 :
                                                :
            Defendants.                         :
____________________________________            :

    PLAINTIFF’S OPPOSED MOTION TO ALTER OR AMEND JUDGMENT TO
 INCLUDE (I) JUDGMENT ON ALL FRAUDULENT TRANSFER CLAIMS AGAINST
          HOLTON BUGGS AND THE ORGANO DEFENDANTS, AND
                     (II) PREJUDGMENT INTEREST

       Plaintiff, Trustee Rodney D. Tow (“Plaintiff”), the Chapter 7 trustee for AmeriSciences,

L.P. (“Debtor”), moves this Court pursuant to Rule 59(e) of the Federal Rules of Civil Procedure

to alter or amend the Final Judgment (ECF No. 126) (the “Judgment”) to add (I) fraudulent

transfer judgment in favor of Plaintiff and against Organo Gold, Int’l, Inc. (“OGI”), Organo Gold

Enterprises, Inc. (“OGE,” and together with OGI, the “Organo Defendants”), and Holton Buggs

(“Buggs”); and (II) $610,682.44 in prejudgment interest to the Judgment.

I.     NATURE AND STATE OF THE PROCEEDING

       This case was tried to a jury from May 7 to May 15, 2018. The Court submitted eleven

questions to the jury relating to Plaintiff’s claims against the Organo Defendants, Buggs, and

Barry Cocheu (“Cocheu,” and together with the Organo Defendants and Buggs, the “Trial

Defendants”). The jury returned its verdict in favor of Plaintiff on each question, including a

finding of $3,461,166.00 (the “Actual Damage Award”) in actual damages and awarding

$150,000.00 of exemplary damages against Cocheu.
       Case 4:16-cv-00643 Document 131 Filed on 05/30/18 in TXSD Page 2 of 8




        The Court’s jury instructions and questions returned findings in favor of Plaintiff on all of

his fraudulent transfer claims against the Organo Defendants and Buggs as transferees of the

Debtor’s distributor list and the WMS software, but the Judgment did not include judgment in

favor of the Trustee and against the Organo Defendants and Buggs on those counts. The

Judgment also did not include an award of prejudgment interest on the Actual Damage Award.

Plaintiff seeks an order, substantially in the form of the proposed order submitted herewith,

altering or amending the Judgment.

II.     STATEMENT OF ISSUES FOR RULING

        This Motion presents the following issues:

        1.     Should the Court modify the Judgment to enter judgment in favor of Plaintiff and

against each of the Organo Defendants and Buggs on Plaintiff’s fraudulent transfer claims,

grounded in both actual and constructive fraud?

        2.     Should the Court modify the Judgment to add an award of prejudgment interest?

III.    STANDARD OF REVIEW

        District courts have “considerable discretion in deciding whether to grant or deny a

motion to alter a judgment.” Infusion Res., Inc. v. Minimed, Inc., 351 F.3d 688, 696–97 (5th Cir.

2003). Amending a judgment is appropriate (1) where an intervening change in controlling law

occurs, (2) where new evidence becomes available, or (3) to correct a manifest error of law or

fact or to prevent manifest injustice. See Alexander v. Wells Fargo Bank, N.A., 867 F.3d 593,

597 (5th Cir. 2017); McGillivray v. Countrywide Home Loans, Inc., 360 F. App’x 533, 537 (5th

Cir. 2010).

        There is no general definition of “manifest injustice,” and courts evaluate whether a

manifest injustice occurred on a case-by-case basis. See id. at *12 (citing Alvarado v. Tex.




                                                  2
      Case 4:16-cv-00643 Document 131 Filed on 05/30/18 in TXSD Page 3 of 8




Rangers, No. EP-03-CA-0305-FM, 2005 U.S. Dist. LEXIS 11851, at *7 (W.D. Tex. June 14,

2005)); see also Cusano v. Klein (In re Cusano), 431 B.R. 726, 734 (B.A.P. 6th Cir. 2010)

(“Manifest injustice, as contemplated by Rule 59(e), is an amorphous concept with no hard line

definition. However, courts have established various guidelines to be used on a case-by-case

basis to determine whether the necessary manifest injustice has been shown.” (citations

omitted)). A showing of manifest injustice requires “a flaw that without correction would lead to

a result that is both inequitable and not in line with applicable policy.” Bender Square Partners,

2012 U.S. Dist. LEXIS 74709, at *13 (quoting Alvarado, 2005 U.S. Dist. LEXIS 11851, at *7).

Any manifest injustice must be “direct, obvious, and observable,” and “apparent to the point of

being indisputable.” Id. (citations omitted).

IV.       ARGUMENT AND AUTHORITIES

          A.     The Verdict Included All Findings Necessary to Support Judgment on the
                 Fraudulent Transfer Claims Against Buggs and the Organo Defendants.

          The jury’s questions and answers included each of the necessary elements to Plaintiff’s

fraudulent transfer claims: Cocheu fraudulently (through both actual and constructive fraud)

transferred assets of the Debtor (the distributor list and WMS software) to Buggs and the Organo

Defendants. Despite these findings, the Judgment failed to include Buggs and the Organo

Defendants, the transferees of the fraudulent transfers in question, in the Judgment relating to

fraudulent transfer. Thus, as explained below, it would be a manifest injustice if the Judgment

were not amended to include a judgment against Buggs and the Organo Defendants on these

claims.

          In this case, Plaintiff asserted causes of action for recovery of fraudulent transfers under

both section 548 of the Bankruptcy Code and the Uniform Fraudulent Transfer Act (“UFTA”), as

applicable in Texas, asserting both actual and constructive fraud under §548 and under the



                                                   3
     Case 4:16-cv-00643 Document 131 Filed on 05/30/18 in TXSD Page 4 of 8




UFTA. Under 11 U.S.C. § 548(a)(1)(A), the Trustee can avoid any transfer made “with actual

intent to hinder, delay, or defraud any entity to which the debtor was or became, on or after the

date that such transfer was made or such obligation was incurred[] [or] indebted.” Similarly,

under UFTA, a transfer is fraudulent where the debtor made the transfer “with actual intent to

hinder, delay, or defraud any creditor of the debtor.” Tex. Bus. & Com. Code § 24.005(a)(1).

With respect to constructively fraudulent transfers, 11 U.S.C. § 548(a)(1)(B)(i)–(ii)(I), provides

the Plaintiff with the ability to avoid any transfer where the Debtor “received less than a

reasonably equivalent value in exchange for such transfer”. UFTA similarly deems transfers

constructively fraudulent where the debtor did not receive “reasonably equivalent value in

exchange for the transaction”. Tex. Bus. & Com. Code § 24.005(a)(2). Finally, once an

avoidable transfer has been established, Bankruptcy Code Section 550(a) enables the Plaintiff to

recover the transfer or the value of the transfer from the immediate or mediate transferee of the

fraudulent transfer. 11 U.S.C. § 550(a).

       In this case the verdict includes a finding that the Debtor owned its trade secrets which

were misappropriated by the Defendants. See Jury Question No. 1. Cocheu transferred the

Debtor’s assets with actual fraudulent intent, see Jury Question No. 7, and through a constructive

fraudulent transfer, see Jury Question No. 8. Buggs and the Organo Defendants were the

recipients—or transferees—of Cocheu’s fraudulent transfers. See Jury Question No. 6. Finally,

the jury’s verdict found that $3,461,166.00 is the amount of money which was necessary to make

the Debtor whole as a result of the fraudulent transfers. See Jury Question No. 9. Accordingly,

because the jury’s verdict includes factual findings necessary to establish Buggs’ and the Organo

Defendants’ liability for actual and fraudulent transfers, it would be a manifest injustice for the

Court to decline to alter or amend the Judgment to include such an award.




                                                4
     Case 4:16-cv-00643 Document 131 Filed on 05/30/18 in TXSD Page 5 of 8




        B.     Texas Law Mandates the Inclusion of Prejudgment Interest.

        Because this action sought recovery under Texas law and the Bankruptcy Code, this

Court should adhere to Texas law regarding prejudgment interest, and alter or amend the

Judgment to award Plaintiff $610,682.44 in prejudgment interest on his Actual Damage Award.

        An award of prejudgment interest is governed by the applicable state law under which the

claim arose. See Lapeyre v. A.M. Dupont Corp. (In re Lapeyre), No. 01-30921, 2003 U.S. App.

LEXIS 28039, at *26–27 (5th Cir. Jan. 29, 2003) (examining state law to determine whether

prejudgment interest is available for nondischargeable debts premised on state law claims).

        With respect to the causes of action raised by Plaintiff in this case, section 304.102 of the

Texas Finance Code mandates an award of prejudgment interest on misappropriation of trade

secret claims. See Retractable Techs., Inc. v. Occupational & Med. Innovations, Ltd., No. 6:08

CV 120, 2010 U.S. Dist. LEXIS 82069, at *12 (E.D. Tex. Aug. 11, 2010) (citing Tex. Fin. Code

§§ 304.102, 304.103) (“Texas law on trade secret claims mandates the award of prejudgment

interest.”).   Beyond the mandatory award of prejudgment interest on the Trustee’s

misappropriation claim, general principles of equity support recovery of prejudgment interest on

Plaintiff’s remaining causes of action. See, e.g., Sandare Chemical Co. v. WAKO Int’l, Inc., 820

S.W.2d 21, 25 (Tex. App. 1991) (affirming award of prejudgment interest on tortious

interference claim); Dernick Res., Inc. v. Wilstein, 471 S.W.3d 468, 487 (Tex. App. 2015)

(affirming award of prejudgment interest on breach of fiduciary duty claim); Minnis v. Citrin

Holdings LLC, No. 2006-78939, 2011 Tex. Dist. LEXIS 2797, at *7 (Tex. Dist. Ct. Apr. 27,

2011) (awarding prejudgment interest on aiding and abetting breach of fiduciary duty claim);

Smith v. Cash Registers Sales & Serv. of Houston, No. 2009-00593, 2010 Tex. Dist. LEXIS

1619, at *5 (Tex. Dist. Ct. Dec. 17, 2010) (awarding prejudgment interest on defalcation claim);




                                                 5
     Case 4:16-cv-00643 Document 131 Filed on 05/30/18 in TXSD Page 6 of 8




Compass Bank v. Villarreal, No. L-10-8, 2011 U.S. Dist. LEXIS 89287, at *20 (S.D. Tex. Aug.

10, 2011) (awarding prejudgment interest on unjust enrichment claims); West v. Hsu (In re

Advanced Modular Power Sys.), 413 B.R. 643, 685 (Bankr. S.D. Tex. 2009) (“With respect to

awarding prejudgment interest in fraudulent transfer cases, Texas courts have concluded that

equity allows for such an award, and thus have frequently awarded pre-judgment interest in those

cases.”).

       Texas courts have held that “prejudgment interest should be granted to a prevailing party

in all but exceptional circumstances.”     Id. (quoting Am. Int’l Trading Corp. v. Petroleos

Mexicanos, 835 F.2d 536, 541 (5th Cir. 1987)). See also Tellez v. Geo Grp., Inc., No. SA-15-

CV-00465-RCL, 2018 U.S. Dist. LEXIS 33980, at *5–10 (W.D. Tex. Mar. 1, 2018) (awarding

prejudgment interest on Rule 59(e) motion).

       Here, the jury returned a verdict in favor of Plaintiff and awarding $3,461,166.00 in

actual damages caused by the concerted actions of Cocheu, Buggs, and the Organo Defendants in

April 2012—actions that ultimately led to Buggs and the Organo Defendants obtaining the

Debtor’s distributor list and WMS Software through misappropriation of a trade secret and/or

fraudulent transfer. An award of prejudgment interest on Plaintiff’s misappropriation of trade

secret claim is mandatory under Texas law. Further, as explained above, principles of equity

support the award of prejudgment interest on all other claims asserted by Plaintiff. Accordingly,

this Court should alter or amend the Judgment to include an award of prejudgment interest at

5.00%, totaling $610,682.44, from the November 4, 2014 commencement of this action through

the May 16, 2018 entry of the Judgment. See Tex. Fin. Code § 304.103 (setting prejudgment

interest as the postjudgment rate applicable at the time of judgment); id. § 304.003(c)(2) (setting

postjudgment rate at 5.00% when the prime rate is less than 5.00%); H.15 Selected Interest




                                                6
     Case 4:16-cv-00643 Document 131 Filed on 05/30/18 in TXSD Page 7 of 8




Rates,       Board       Governors       Fed.        Res.     Sys.      (May       21,      2018),

https://www.federalreserve.gov/releases/h15/ (stating prime rate is 4.75%); Tex. Fin. Code §

304.104 (stating prejudgment interest accrues on the amount of a judgment during the period

beginning on the date the suit is filed and ending on the day preceding the date judgment is

rendered).

V.       CONCLUSION

         For the reasons set forth herein, Plaintiff respectfully requests that this Court alter or

amend the Judgment to include judgment against Buggs and the Organo Defendants on the

fraudulent transfer causes of action, and to include an award of prejudgment interest on the

Actual Damages Award.

         Date: May 30, 2018                       Respectfully submitted,

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                                                 7
     Case 4:16-cv-00643 Document 131 Filed on 05/30/18 in TXSD Page 8 of 8




                               CERTIFICATE OF SERVICE

       The undersigned does hereby certify that on May 30, 2018, a true and correct copy of the
foregoing Plaintiff’s Opposed Motion to Alter or Amend Judgment to Include (I) Judgment on all
Fraudulent Transfer Claims Against Holton Buggs and the Organo Defendants; (II)
Prejudgment Interest; and (III) An Award of Costs was electronically filed and served via the
Court’s ECF system upon the parties registered to receive notice:

                                                   /s/ John J. Sparacino
                                                   John J. Sparacino
